        Case 1:21-cv-00761-WJ-JFR Document 567 Filed 12/10/21 Page 1 of 1
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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                 Byron White United States Courthouse
                                           1823 Stout Street
                                       Denver, Colorado 80257
                                            (303) 844-3157
                                       Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                         Jane K. Castro
 Clerk of Court                                                             Chief Deputy Clerk
                                       December 10, 2021


  Tatyana Evgenievna Drevaleva
  3015 Clement Street, Apartment 204
  San Francisco, CA 94121

  RE:       21-2148, In re: Drevaleva
            Dist/Ag docket: 1:21-CV-00761-WJ-JFR

 Dear Petitioner:

 Your petition for writ of mandamus has been docketed but will not be submitted to the
 court until the docket fee has been paid or you have filed a motion for leave to proceed
 without prepayment of fees and costs. See Fed. R. App. P. 21(a)(3) and 10th Cir. R. 21.1.
 Within 30 days of the date of this notice, you must either pay the $500.00 docket fee to
 the clerk or file a motion for leave to proceed without prepayment of fees on the enclosed
 form. If the fee is not paid or the form is not filed, this proceeding may be dismissed
 without further notice. See 10th Cir. R. 3.3(B).

 Please contact this office if you have questions.

                                                Sincerely,



                                                Christopher M. Wolpert
                                                Clerk of Court



  cc:       Christine H. Lyman

  CMW/na
